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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 TEVIN JONES,

                        Plaintiff,

         v.                                               Civil Action 2:23-cv-920
                                                          Judge Sarah D. Morrison
                                                          Magistrate Judge Chelsey M. Vascura
 ENTERPRISE HOLDINGS INC., et al.,

                        Defendants.




                                              ORDER

       This matter is before the Court on Defendants’ Motion for Protective Order (ECF No.

42). Defendants seek a protective order under Federal Rule of Civil Procedure 26(c) to protect

their proprietary and/or confidential business information, as well as Plaintiff’s medical records,

financial information, and personnel file. (Id.)

       Plaintiff objects to the entry of this—or any—protective order. First, Plaintiff argues that

Defendants’ motion for entry of protective order is untimely; but the undersigned considered and

rejected that argument during the discovery conference on September 12, 2024. Next, Plaintiff

points out that Defendants’ proposed protective order does not specifically address documents

produced by Plaintiff in February 2024 that include his income records, tax records, medical

records, employment records. But the proposed protective order provides for documents to be

marked “Confidential” “within a reasonable amount of time” after the documents are produced.

(Proposed Protective Order 1, ECF No. 42-2.) Given that the protective order was not in effect

when Plaintiff produced his documents in February 2024, the undersigned finds that if Plaintiff
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were to mark his previously produced documents as “Confidential” within seven days of the

entry of the protective order, that would constitute marking “within a reasonable amount of

time.” Plaintiff further argues that entry of Defendants’ unilateral protective order is not

warranted because Plaintiff engaged in good faith efforts to agree on a protective order.

However, during the September 12, 2024 conference, Plaintiff represented that there was no

version of a protective order that he would agree to. Defendants’ unilateral motion was therefore

necessitated by Plaintiff’s conduct. For this same reason, Defendants are entitled to an award of

attorney’s fees incurred in making their motion under Fed. R. Civ. P. 26(c)(3) and 37(a)(5) (“If

the motion is granted . . . the court must, after giving an opportunity to be heard, require the

party . . . whose conduct necessitated the motion . . . to pay the movant’s reasonable expenses

incurred in making the motion, including attorney’s fees.”).

       Defendants’ Motion (ECF No. 42) is therefore GRANTED, with minor modifications to

their proposed protective order in the form attached to this Order. The Clerk is DIRECTED to

enter the attached protective order on the docket. Plaintiff is ORDERED to pay Defendants an

amount equal to one hour of attorney’s fees at Defendants’ attorney’s hourly billing rate,

WITHIN THIRTY DAYS of the date of this Order.



       IT IS SO ORDERED.



                                                      /s/ Chelsey M. Vascura
                                                      CHELSEY M. VASCURA
                                                      UNITED STATES MAGISTRATE JUDGE




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